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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA



     STATE OF OKLAHOMA, et al.,            )
                                           )
                      Plaintiffs,          )
                                           )
     v.                                    )        Case No. 05-cv-329-GKF-SH
                                           )
     TYSON FOODS, INC., et al.,            )
                                           )
                      Defendants.          )


       DEFENDANTS’ JOINT OPPOSITION TO PLAINTIFFS’ MOTION TO
     STRIKE DEFENDANTS’ JOINT SUPPLEMENTAL LIST OF WITNESSES
      WITH SUMMARY OF EXPECTED TESTIMONY AS TO PATRICK FISK

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                                       ARGUMENT

         This past week, Plaintiffs’ witnesses testified repeatedly as to their befuddle-

   ment regarding poultry operations in Arkansas. Mr. Fite testified that he has been

   unable to obtain hard data regarding litter generation, storage, and transportation

   in Arkansas. Ms. Phillips, for her part, testified that 75% of birds are located on the

   Arkansas side of the IRW, yet rejected real Arkansas data as nonsense and instead

   resorted to Google Earth in an admitted first attempt at using such software to esti-

   mate the number of poultry houses, generate bird-counts based on assumptions, and

   calculate unverified litter generation numbers—the latter calculation being 18 times

   what Arkansas’s actual data showed. See Hr’g Tr. (Vol. 5 – AM) at 583:10–18 (Dec.

   5, 2024); cf. Doc. 2979 (finding that 76.5% of active poultry houses in the IRW are

   “located in Arkansas”).

         On November 18, and again in more detail on November 27, Defendants dis-

   closed the testimony of Mr. Patrick Fisk, the Director of Arkansas’ Division of Live-

   stock and Poultry, who is responsible for gathering, maintaining, and promulgating

   data regarding Arkansas Registered Feeding Operations. Mr. Fisk will testify re-

   garding poultry data, detail substantial evolution in poultry management and prac-

   tices, and generally provide the Court with real and actual data regarding Arkansas.

   Rather than welcome this clarifying testimony, Plaintiffs have instead moved to ex-

   clude Mr. Fisk’s testimony as distracting and unnecessary. While Plaintiffs may find

   his testimony inconvenient, it is hardly distracting. Mr. Fisk’s testimony goes to the

   heart of the actual changed circumstances that lie at the core of this trial and should

   be heard in full. The motion should be denied.


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         As an initial matter, Plaintiffs do not question Mr. Fisk’s qualifications as a

   fact or non-retained expert. Nor could they. Mr. Fisk has spent his entire career in

   and around the Arkansas poultry industry, and played a leading role in standing up

   and implementing Arkansas’ programs regulating poultry litter.1 Plaintiffs likewise

   do not question the sufficiency of Mr. Fisk’s disclosure. Nor could they again. Mr.

   Fisk’s non-retained opinion witness disclosure is more detailed and substantive than

   those provided by any of Plaintiffs’ Rule 26(a)(2)(C) witnesses and found sufficient by

   the Court. Nor again do Plaintiffs allege Defendants failed to disclose Mr. Fisk. Once

   again, they cannot, as he was timely and properly disclosed as required on November

   18, without objection. Rather, Plaintiffs object because Defendants subsequently and

   voluntarily provided expanded detail as to testimony Mr. Fisk might give depending

   on Plaintiffs’ witnesses’ testimony.

         Plaintiffs ask the Court to strike this expanded disclosure and to bar Mr. Fisk

   from offering any FRE 702 opinion testimony on the grounds that it was untimely.

   Doc. 3110 (“Mot.”) at 1 (citing Fed. R. Civ. P. 26(a), 37(c)). As an initial matter, the

   disclosure of Mr. Fisk was not untimely. Every subject in Mr. Fisk’s second disclosure

   comes squarely within and simply expands on his first, see infra § I, to which Plain-

   tiffs raised no objection.      Moreover, as discussed infra § II, we explained



   1 Plaintiffs do question whether Mr. Fisk can testify regarding poultry operations in

   Oklahoma. Doc. 3110 (“Mot.”) at 4. This is a bit much, coming from the party whose
   witnesses offered rank speculation regarding Arkansas and who resorted to Google
   Earth in lieu of using Arkansas’ own data regarding poultry operations. To the extent
   Mr. Fisk has percipient observations regarding Oklahoma, or can supply the founda-
   tion for Rule 702 opinion, he should be allowed to provide it just like any other wit-
   ness. Plaintiffs may raise that objection when he testifies.


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   contemporaneously the justification for this expanded disclosure. See Doc. 3090 at 7.

   First, due to Arkansas policy on state employees testifying in civil cases where the

   state is not a party, Defendants were unable to prepare a more detailed disclosure

   until Mr. Fisk received the required approval from his superiors. Second, any opinion

   testimony Mr. Fisk shares would bear on Plaintiffs’ non-retained experts, whose opin-

   ions were not disclosed until November 18th, and who did not testify until this past

   week. Defendants should not be faulted for circumstances outside their control.

         In all events, as discussed infra § III, the subsequent expanded disclosure was

   harmless—to the contrary, if anything, it was helpful to Plaintiffs. First, Plaintiffs

   are not prejudiced by the timing of the disclosure. They will have had more time—at

   least 17 days—to prepare for Mr. Fisk’s testimony than Defendants had to prepare

   for any of Plaintiffs’ experts. Second, any possible prejudice—and there was none—

   has since been cured. As the Court made clear in its December 2 order, the proper

   remedy for an incomplete disclosure is supplemental disclosure. It would be counter-

   productive to order Defendants to disclose less after voluntarily disclosing more. That

   is particularly true after Plaintiffs were ordered to disclose more. Third, the timing

   of the disclosure will not disrupt trial. The vast majority of Mr. Fisk’s testimony will

   be the percipient fact testimony that forms the basis for any opinions he shares. Fi-

   nally, Plaintiffs do not suggest—nor could they—that the disclosure’s timing was the

   product of underhanded gamesmanship.

         In no event should Mr. Fisk’s testimony be crimped. As the Court recently

   explained, “[i]n ruling on a motion to exclude expert testimony under Rule 37(c)(1),




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   the court should bear in mind that it is a drastic sanction.” Doc. 3094 at 9 (quoting

   Hayes v. Am. Credit Acceptance, LLC, 2014 WL 3927277, at *3 (D. Kan. Aug. 12,

   2014)). “The parties to a litigation are not merely players in a game, trying to catch

   each other out. Rather, litigation should promote the finding of the truth, and, wher-

   ever possible, the resolution of cases on their merits.” Gillum v. United States, 309

   F. App’x 267, 270 (10th Cir. 2009) (discussing Rules 26 and 37). Mr. Fisk has already

   been referenced repeatedly by Plaintiffs’ witnesses, who have acknowledged him to

   be competent and trustworthy. His testimony will bear directly on issues put in dis-

   pute by Plaintiffs, and will “help the trier of fact to understand th[at] evidence”

   through both his direct observations and his “specialized knowledge” earned over

   years working in and regulating Arkansas poultry industry. Fed. R. Evid. 702(a).

   For this reason alone, exclusion is improper. In any event, the timing of the disclo-

   sure for Mr. Fisk is both substantially justified and harmless.2

   I.    Each subject in Defendants’ supplemental disclosure for Mr. Fisk falls
         squarely within the subjects set out in Defendants’ initial disclosure.

         In their initial disclosure for Mr. Fisk, Defendants provided:

         Mr. Fisk is expected to testify regarding poultry litter regulation and
         management in Arkansas, including without limitation nutrient man-
         agement plans, litter application, litter transportation, storage, and

   2 As other courts in this circuit have noted, substantial justification and harmlessness

   are two separate reasons not to impose sanctions under Rule 37(c)(1). See Diener v.
   Malewitz, 2019 WL 13223871, at *3 n.2 (D. Wyo. Oct. 18, 2019) (“The analysis of
   whether a failure to disclose is substantially justified or harmless is often conflated.”);
   Pratt v. Petelin, 2010 WL 5463123, at *3 (D. Kan. Dec. 29, 2010) (“As Defendant has
   shown that his untimely disclosure was substantially justified, he need not also show
   that his untimeliness is harmless to Plaintiff.”); see also Fed. R. Civ. P. 37(c)(1) advi-
   sory committee notes to 2000 amendment (“Even if the failure was not substantially
   justified, a party should be allowed to use the material that was not disclosed if the
   lack of earlier notice was harmless.”).


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         export, training, agronomic practices, grower trends, agricultural data,
         and other subjects relevant to current and historical conditions in the
         watershed.

   Doc. 3059 at 3. This disclosure was consistent with all of Defendants’ other witness

   disclosures, to which Plaintiffs made no objection. A week later, Defendants provided

   a much more detailed disclosure expanding on the subjects Mr. Fisk may address,

   including potential rebuttal to expert opinions newly disclosed by Plaintiffs regarding

   inter alia poultry operations in Arkansas. All of these subjects fall squarely within

   those disclosed in Defendants’ initial disclosure for Mr. Fisk.

         Defendants initially disclosed that Mr. Fisk may testify regarding poultry lit-

   ter regulations and management in Arkansas, including “agronomic practices, grower

   trends,” and “other subjects relevant to current and historical conditions in the wa-

   tershed.” Doc. 3059 at 3. The supplemental disclosure provides more specific infor-

   mation for these subject matters, including that Mr. Fisk will testify regarding his

   extensive career in the industry, starting with his experience as a service technician

   who regularly met with growers and monitored poultry houses, and his current work

   in Arkansas’s Department of Agriculture as Director of the Livestock and Poultry

   Division. In that position, he has gained firsthand knowledge regarding poultry

   growers, the exportation of litter, and poultry litter data collection. Doc. 3090 at 9,

   12. The supplemental disclosure also provided more specific information as to his

   testimony concerning changed agronomic practices including de-caking and windrow-

   ing and much longer house clean-out intervals ranging as long as 3 to 7 years. Id. at

   10–11.




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         Defendants also initially disclosed that Mr. Fisk may testify regarding litter

   application, litter transportation, storage, and export. Doc. 3059 at 3. The supple-

   mental disclosure again provides more specific information regarding these subjects,

   including that Mr. Fisk will testify that he “receives and regularly reviews data from

   growers concerning litter management and regularly prepares reports for the state

   based on this data.” Doc. 3090 at 10 (citing exhibits); see id. at 12 (citing specific data

   and analyses contained in exhibits). Defendants further disclosed that Mr. Fisk’s

   testimony regarding exporting litter would include that “more poultry litter is leaving

   the [IRW] than ever before.” Id. at 10. That is because improved practices have made

   litter more valuable than 15 years ago, so the break-even point for exporting litter

   has changed, making exporting outside the IRW—including to Kansas, Missouri, Col-

   orado, and Wisconsin—“increasingly profitable for growers.” Id.; see id. at 12–13

   (stating that “Mr. Fisk is expected to testify that enhanced value translates into a

   greater incentive for growers to sell litter and ship it greater distances” instead of

   “land applying”).

         Defendants’ supplemental disclosure provided even more specifics on these

   subject matters, including that Mr. Fisk is expected to testify regarding grower prac-

   tices of “stacking, storing, [and] selling” poultry litter, the increasing frequency with

   which growers send stacked litter to stockpilers. Id. at 11. Defendants further pro-

   vided that Mr. Fisk is expected to testify that the data show a trend toward storing

   and transferring litter rather than land applying and the reasons Mr. Fisk expects

   these trends to continue. Id. at 13–14. In addition, Defendants’ initial disclosure




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   provided that Mr. Fisk is expected to testify regarding nutrient management plans,

   Doc. 3059 at 3, and the supplemental disclosure provided more specifics, including

   that Mr. Fisk will testify regarding his personal experience implementing Arkansas’

   NMP requirements, the development of these plans, their current operation, and com-

   pliance with these plans. Doc. 3090 at 12.

         To the extent the supplemental disclosure adds anything arguably new, it was

   specifying that Mr. Fisk’s testimony may include opinions rebutting the opinion tes-

   timony of Shanon Phillips and Edward Fite. Doc. 3090 at 8–9. But as explained,

   Defendants could not have included this in Mr. Fisk’s original disclosure. Indeed, it

   would have been impossible for Defendants to know that Plaintiffs’ witnesses would

   offer detailed opinions regarding Arkansas’s poultry records, including opinions that

   those records cannot be trusted. Defendants should be permitted to respond to that

   testimony, particularly here where Ms. Phillips is calling into question the very data

   for which Mr. Fisk is responsible.

         Defendants did not have to tender the supplemental disclosures. They could

   simply have presented Mr. Fisk and elicited rebuttal testimony without additional

   disclosure, arguing correctly that the Court’s scheduling order made no provision for

   and did not require rebuttal disclosures. Indeed, at the close of their case Plaintiffs

   settled except as to the need for rebuttal, yet have not made any rebuttal disclosures.

   Rather than do so, Defendants expanded Mr. Fisk’s disclosure to make clear that he

   would offer rebuttal non-retained expert opinions, a disclosure that is helpful to

   Plaintiffs. Defendants should not be punished for doing so.




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   II.   The timing of Defendants’ supplemental disclosure for Mr. Fisk was
         substantially justified by the circumstances.

         Even if the supplemental disclosure for Mr. Fisk was somehow in default—and

   it was not—its timing was substantially justified. As the Supreme Court has ex-

   plained, the substantial-justification standard used throughout Rule 37 “has never

   been described as meaning ‘justified to a high degree,’ but rather has been said to be

   satisfied if there is a ‘genuine dispute,’ or ‘if reasonable people could differ as to [the

   appropriateness of the contested action].’” Pierce v. Underwood, 487 U.S. 552, 565

   (1988) (cleaned up). Put differently, the timing of the supplemental disclosure need

   only be “justified to a degree that could satisfy a reasonable person.” Id.; see also

   Leadville Corp. v. U.S. Fid. & Guar. Co., 55 F.3d 537, 540–41 (10th Cir. 1995) (ex-

   plaining, in a different context, that “‘[s]ubstantial justification exists when [a party]

   has adequate excuse for noncompliance’ or has demonstrated ‘a justifiable excuse or

   extenuating circumstances explaining the delay’”) (citations omitted).

         Such justification exists here. As Defendants explained at the time, Defend-

   ants were unable to prepare a detailed disclosure for Mr. Fisk as he had not yet re-

   ceived the requisite approval from his supervisors “to provide testimony in a civil

   matter to which Arkansas is not a party.” Doc. 3090 at 7. In evaluating compliance

   with disclosure requirements under Rule 26(a)(2)(C), courts have acknowledged the

   practical reality that parties do not have unlimited access to their experts and have

   adjusted the demands of their evaluation accordingly. See, e.g., Crouch v. State Farm

   Mut. Auto. Ins. Co., 2019 WL 5310247, at *6 (D. Kan. Oct. 21, 2019); see also Fed R.

   Civ. P. 26(a) advisory committee notes to 2010 amendment (reminding courts “that



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   these witnesses have not been specially retained and may not be as responsive to

   counsel as those who have”). This Court noted the same in sustaining Plaintiffs’ dis-

   closures. Doc. 3094 at 2.

          Here, the practical reality is that, at the time of the initial disclosures, Defend-

   ants were unsure whether Mr. Fisk would be able to testify at all, let alone the details

   of that testimony. Accordingly, in an attempt to be as forthcoming as reasonably

   possible, Defendants disclosed his identity and hoped-for subjects of his testimony

   generally. See Doc. 3059 at 3. The supplemental disclosure simply filled in the details

   after permission was secured and counsel had an opportunity to confer with him in

   detail.3

          Moreover, as was also explained in the supplemental disclosure, the scope of

   Mr. Fisk’s anticipated testimony has expanded in light of Plaintiffs’ expert disclo-

   sures, and “Defendants now expect that Mr. Fisk’s testimony will include rebuttal

   testimony to opinions offered by Plaintiffs’ [expert] witnesses.” Doc. 3090 at 7. It

   would have been impossible for Defendants, without knowing the opinions that Plain-

   tiffs’ witnesses would provide, to have anticipated that Mr. Fisk would be able to

   provide on-point rebuttal testimony. This too is a substantial justification. “It is

   axiomatic that the law will not require the impossible.” Shackelford v. Pool, 9 P.2d

   756, 757 (Okla. 1932); see also Pratt, 2010 WL 5463123, at *3 (finding “substantial

   justification for [Defendant’s] failure to serve the disclosures by the deadline” where



   3 Plaintiffs chippy retort that this “rings hollow” (Mot. at 5) is unbecoming.
                                                                          This is
   precisely what happened, and Defendants made the best we could of the circum-
   stances.


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   “it was only after the deposition of [other experts] in early October 2010 that he real-

   ized the need to designate Plaintiff’s health care providers as his own expert wit-

   nesses”); Am. Family Mut. Ins. Co. v. Techtronic Indus. N. Am., Inc., 2014 WL

   1962180, at *1 (D. Kan. May 15, 2014) (similar). In light of these substantial justifi-

   cations, the Court should deny Plaintiffs’ motion.

   III.   Exclusion of Mr. Fisk’s opinion testimony is improper because the tim-
          ing of the supplemental disclosure was harmless.

          Even if this justification were not substantial, the Court nevertheless should

   not exclude Mr. Fisk’s opinion testimony because the timing of the supplemental dis-

   closure was harmless. In arguing to the contrary, Plaintiffs correctly identify the four

   factors that “should guide [the Court’s] discretion” in deciding whether any remedy

   is necessary, Woodworker’s Supply, Inc. v. Principal Mutual Life Insurance Co., 170

   F.3d 985, 993 (10th Cir. 1999), but ignore most authorities and misapply those stand-

   ards. The standards, properly applied, support Defendants.

          A.    Plaintiffs are not prejudiced by the timing of the disclosure.

          As courts in this circuit have explained, “the purpose of Rule 26 [is] to eliminate

   unfair surprise and to provide enough information to the opposing party about the

   expert’s opinions and methodology to prepare for a deposition, any pretrial motions,

   and trial.” Cordero v. Froats, 2016 WL 7426579, at *3 (D.N.M. Oct. 27, 2016) (citing

   Dahlberg v. MCT Transp., LLC, 571 F. App’x 641, 648 (10th Cir. 2014)). Accordingly,

   “[t]he type of prejudice that rises to the level of warranting the exclusion of a witness’s

   testimony under [Rule 37(c)(1)] is the inability of the opposing party to fully litigate

   the case and defend against the new testimony.” Rimbert v. Eli Lilly & Co., 647 F.3d



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   1247, 1255 (10th Cir. 2011); see also Roof Rehab, LLC v. Travelers Cas. Ins. Co. of

   Am., 2021 WL 5579053, at *7 (D. Colo. Nov. 30, 2021) (explaining that the prejudice

   relevant to Rule 37(c)(1) is “hinder[ance to] a party’s ability to adequately or appro-

   priately prepare for trial”).

          That sort of prejudice is not present here. Plaintiffs claim that they “ha[ve]

   not received any information upon which Fisk will base his eight pages of newly-

   disclosed opinions.” Mot. at 3. But that is patently untrue. Defendants’ supple-

   mental disclosure (i) specifically identifies documents and exhibits on which Mr. Fisk

   would base his opinions, all of which Plaintiffs have in their possession, (ii) explains

   that Mr. Fisk’s opinions will otherwise be based on his “observations” and “experi-

   ence” in his role with the state of Arkansas, and (iii) gives detail on the nature of such

   “observations” and “experience.” Doc. 3090 at 8–14. Plaintiffs’ complaint of prejudice

   thus has nothing at all to do with the timing of Defendants’ disclosure; it is a claim

   of a substantively inadequate disclosure, which plays no part in the four factors that

   “guide [the Court’s] discretion” here. See Woodworker’s Supply, Inc., 170 F.3d at 993.

          At bottom, there is no prejudice to Plaintiffs’ ability to prepare for cross-exam-

   ining Mr. Fisk. Indeed, factoring in the supplemental disclosure, Plaintiffs will still

   have more time to prepare for Mr. Fisk’s testimony than Defendants had to prepare

   for any opposing witness. Without identification of some specific detriment, Plaintiffs

   cannot demonstrate prejudice here.




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         B.     Plaintiffs’ claim of incurable prejudice is inconsistent with how
                this Court has previously handled inadequate disclosures.

         Even if Plaintiffs’ could establish prejudice, that prejudice has already been

   cured. The November 18 disclosures identified Mr. Fisk as a witness and described

   the subjects of his testimony. Doc. 3059 at 3. Consistent with the Court’s treatment

   of other Rule 26(a)(2)(C) disclosures, had Plaintiffs objected then, the Court would

   have ordered Defendants to supplement the disclosures. See Doc. 3094 at 9–10. That

   Defendants did so voluntarily should not be held against them. The supplemental

   disclosure on November 27 thus cures any previous prejudice resulting from the ini-

   tial disclosure. Cf. Girard Offices, LLC v. Am. Zurich Ins. Co., 2022 WL 4467240, at

   *14 (D. Colo. Sept. 26, 2022) (finding supplemental disclosures to be appropriate rem-

   edy); Radiologix, Inc. v. Radiology & Nuclear Med., LLC, 2019 WL 354972, at *4 (D.

   Kan. Jan. 29, 2019) (same); Roof Rehab, 2021 WL 5579053, at *7 (same).

         C.     The timing of the disclosure will not disrupt trial.

         Contrary to Plaintiffs’ suggestions, a “disrupt[ion]” in the sense intended by

   Woodworker’s Supply does not result from (allegedly) off-topic testimony. See Mot. at

   4–5. Under this test, disruption is caused when, in light of the inadequate disclosure,

   the opposing party “would need additional witnesses to combat improper testimony”

   or “would have to rework the travel arrangements of many of the out-of-town wit-

   nesses” such that “the trial [c]ould not be completed within the [time] that the Court

   has allotted for it.” Leon v. FedEx Ground Package Sys., Inc., 2016 WL 1158079, at

   *8–9 (D.N.M. Mar. 1, 2016) (citations omitted); see Coffey v. United States, 2012 WL

   2175747, at *12–13 (D.N.M. May 26, 2012).



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         There is no such concern here. Mr. Fisk was already slated to testify, and the

   bulk of his testimony will be factual in nature—his opinion testimony will add a tech-

   nical gloss on the facts to aid the Court’s understanding. Cf. Fed. R. Evid. 702(a)

   (clarifying that assisting the trier of fact is the touchstone of allowing expert testi-

   mony). Plaintiffs do not identify any specific disruptions stemming from the timing

   of this disclosure. The only “disruptions” they identify are related to the relevance of

   the subject matter of Mr. Fisk’s testimony. See Mot. at 4–5. Not only are such com-

   plaints irrelevant to Rule 37 exclusion, but they are also completely unrelated to the

   timeliness of the disclosure—Plaintiffs have known the general subjects of Mr. Fisk’s

   testimony since the original disclosures on November 18. Doc. 3059 at 3. And Plain-

   tiffs’ argument that Mr. Fisk should not be permitted to testify regarding subjects

   such as “how Arkansas collects its poultry litter data”—a subject Plaintiffs them-

   selves have directly put in issue and attacked—should be rejected. Mot. at 4.

         D.       The timing of the disclosure was not the result of any bad faith
                  or willfulness from the Defendants.

         As explained supra § II and in the supplemental disclosure, Mr. Fisk’s opinions

   and the factual bases for them were not disclosed until November 27 because Mr.

   Fisk had not gotten the requisite approval from his supervisors and Defendants did

   not know the content of Plaintiffs’ experts’ opinions that Mr. Fisk will now be rebut-

   ting. Doc. 3090 at 7. These facts alone foreclose the possibility of any bad faith or

   willfulness.

         But even if things were as Plaintiffs say—that the “untimely disclosure is

   purely due to Defendants’ failure to comply with the Court’s clear deadlines,” Mot. at



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   5—this factor still would not be satisfied. Mere fault does not constitute bad faith or

   willfulness. See Henderson v. Nat’l R.R. Passenger Corp., 412 F. App’x 74, 82 n.4

   (10th Cir. 2011) (explaining that even an “utter lack of regard to the deadlines” does

   not meet this standard); see also In re Commercial Fin. Servs., Inc., 2010 WL 1008887,

   at *6 (N.D. Okla. Mar. 16, 2010) (noting that this standard typically demands an

   “intent unreasonably to delay the proceedings”) (quoting United States v. Wallace,

   964 F.2d 1214, 1219 (D.C. Cir. 1992)). “Without a finding of bad faith or gamesman-

   ship . . . courts are loathe to invoke the strong medicine of precluding expert testi-

   mony.” McAdoo v. ITT Educ. Servs., Inc., 2011 WL 2198568, at *2 (D. Colo. June 6,

   2011) (citation omitted). The Court should not do so here.

                                      CONCLUSION

         A close reading of Plaintiffs’ motion to strike reveals the true nature of their

   objection: that Mr. Fisk’s testimony “conflicts with the scope and purpose of this evi-

   dentiary hearing,” “will confuse the issues,” and “will only distract the Court from the

   matter at hand.” Mot. at 4. These are not grounds for exclusion for untimely disclo-

   sure under Rule 37(c)(1); they are a poorly disguised attack on the inconvenient na-

   ture of Mr. Fisk’s evidence. Cf. Fed. R. Evid. 403. Mr. Fisk’s expert opinion testimony

   will aid the Court in this matter, and the timing of the disclosure for Mr. Fisk is both

   substantially justified and harmless. The Court therefore should deny Plaintiffs’ mo-

   tion. See Coffey, 2012 WL 2175747, at *12–13.




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   December 9, 2024                                Respectfully submitted,



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                            CERTIFICATE OF SERVICE

         I certify that on December 9, 2024, I caused this document to be filed with the

   Clerk of Court through CM/ECF, which will serve copies on all registered counsel.



                                         /s/ Gordon D. Todd
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